Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 1 of 17




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-3417-NYW-MEH

  HOLLY KLUTH,

         Plaintiff,

  v.

  TONY SPURLOCK, individually, and
  DARREN WEEKLY, in his official capacity as Douglas County Sheriff,

        Defendants.
  ______________________________________________________________________________

      DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY
                                   JUDGMENT
  ______________________________________________________________________________

         Defendant Tony Spurlock in his individual capacity and Defendant Darren Weekly in his

  official capacity as Douglas County Sheriff1 , by and through their counsel, submit this Reply to

  Plaintiff’s Response to Defendants’ Motion for Summary Judgment (ECF No. 38, filed January

  13, 2023) and state as follows:

                      REPLY CONCERNING UNDISPUTED FACTS (“RCUF”)

         3.       Not a genuine dispute. It is undisputed that Plaintiff did not have an express contract

  for employment with the DSCO. (MSJ Ex. A, Kluth Dep. at 204:7-10).

         4.       Not a genuine dispute. The cited testimony does not support Plaintiff’s assertion



  1 Sheriff Spurlock was the Douglas County Sheriff when the Motion for Summary Judgment was filed (ECF
  No. 30). His term as Sheriff has since expired and Darren Weekly is now the Douglas County Sheriff. To
  maintain consistency with the naming convention applied in the Motion for Summary Judgment, Spurlock
  is referred to herein as “Sheriff Spurlock.”
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 2 of 17




  that the entire policy manual “comprises” the mission, vision, and values. The deponent testified

  that the “entire policy manual is written in a manner to strive to meet [DCSO’s] mission, vision,

  and values.” (Response Ex. 23, Duffy Dep. at 241:3-4).

         10.     Not a genuine dispute. Plaintiff advised Mr. Moore that she was “ok with the back”

  of the document the two were preparing to facilitate Mr. Parker’s request and proposed language

  for the “front” of the document, including her suggestion that Mr. Parker could “put a little * under

  the pictures and say from Douglas County Sheriff’s website.” (MSJ Ex. E, DCSO 42-43 –

  Plaintiff’s text messages to Mr. Moore).

         12.     Not a genuine dispute. Plaintiff admitted that she “could have told Tim [Moore],

  ‘Hey, don’t reach out to the captains. Don’t reach out to them, you know, while you’re working[]’

  but that she did not do so, and not doing so “would be one inaction [she] probably could have done

  differently.” (MSJ Ex. A, Kluth Dep. at 32:11-21).

         13.     Not a genuine dispute. Plaintiff knew that Mr. Moore was speaking to other

  members of command staff about providing quotes to Mr. Parker “while at least partially – or at

  times on duty.” (Ex. A-1, Kluth Dep. at 73:6-13).

         15.     Not a genuine dispute. Plaintiff testified that the other action she took full

  responsibility for and would have done differently “would be to not mention the sheriff in [her]

  Facebook post, because [she] mentioned him at the very beginning.” (MSJ Ex. A, Kluth Dep. at

  32:11-33:5 (emphasis added); see also MSJ Ex. F – Facebook Post, which contains seven

  numbered points, including point “1)” that references “Sheriff Tony Spurlock” and point “2)” that

  follows with “With that said…”).




                                                   2
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 3 of 17




         17.     Not a genuine dispute. The cited testimony does not support Plaintiff’s assertion

  that Mr. Johnson purportedly not being asked to determine whether Plaintiff had violated policy

  was “aberrational.” The deponent testified        that the investigation “was an extraordinar y

  circumstance” and an “abnormal situation; [because] it involved the second highest ranking person

  in the office….” (Resp. Ex. 26, Domenico Dep. at 84:23-85:5).

         31.     Not a genuine dispute. The cited testimony does not support Plaintiff’s assertion or

  any suggestion that the Duffy memorandum was the sole basis for Sheriff Spurlock’s knowledge

  of the incidents referenced therein. (Ex. C-1, Spurlock Dep. at 234:22-235:10). “[T]he Number 1

  reason that [Sheriff Spurlock] terminated [Plaintiff] was because she no longer fulfilled the vision,

  mission, and values of [his] office, which involved very important, particular issues, like judgment,

  and trust, and unity.” (Ex. C-1, Spurlock Dep. at 235:17-236:7).

                 a.      Sheriff Spurlock learned of Plaintiff’s objections to and complaints about

  the on-call command structure prior to Plaintiff’s termination. (Ex. C-1, Spurlock Dep. 240:24-

  241:3). Sheriff Spurlock viewed Plaintiff’s conduct as problematic given Plaintiff’s recent

  demotion from Undersheriff and demonstrated Plaintiff’s inability to work with the whole

  department. (Id. at 240:10-18).

                 b.      Not a genuine dispute. Plaintiff’s email on the issue speaks for itself. (See

  MSJ Ex. R, DCSO 2507-09 emails). Plaintiff accused her then-supervisor, Chief Duffy, of acting

  disrespectfully and violating the chain of command. (See id. at 2508, email to Duffy: “I have been

  respectful of chain of command up the chain to you, and would not consider violating that without

  first discussing any issues with you, and I believe you should have the same respect for my




                                                   3
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 4 of 17




  subordinates. By going to them directly to give them information or gathering information in my

  opinion is a violation of the policy.” (emphasis added)).

         Plaintiff was insubordinate to Chief Duffy. (MSJ Ex. P – DCSO 952 – Duffy entry to

  Plaintiff’s Guardian Tracker file: “her allegation was unfounded and would not be tolerated this

  insubordination in the future”; see also Ex. C-1, Spurlock Dep. at 246:4-9). Insubordination is an

  “incredibly serious violation.” (Ex. C-1, Spurlock Dep. at 247:1-8). Sheriff Spurlock was aware

  of the incident prior to Plaintiff’s termination. (Ex. C-1, Spurlock Dep. at 248:24-249:4).

         c.      The cited portion of Sheriff Spurlock’s testimony in Plaintiff’s Response does not

  address the “essential employee” issue addressed in the MSOMF of the Motion.

         d.      Chief Duffy recalls the issue of Plaintiff’s Tweets/Twitter war with Captain Jensen

  being addressed in an executive offers’ meeting in which he was directed to speak to Plaintiff and

  Jensen and advise them to stop their behavior. Chief Duffy subsequently spoke to both Plaintiff

  and Jensen and told them to stop their behavior. (Ex. Q-1, Duffy Dep. 198:9-199:7).

         e.      Plaintiff and Captain Jensen were in conflict from almost the beginning of their

  joint tenure as co-captains in Patrol. Chief Duffy apprised Undersheriff Walcher about this

  ongoing conflict. (Ex. Q-1, Duffy Dep. 67:4-68:10). One of the sources of conflict between

  Plaintiff and Jensen was the DCSO pursuit policy. (Ex. Q-1, Duffy Dep. 148:16-149:25).

         f.      Plaintiff failed to fully comply with Chief Duffy’s instructions about reviewing and

  approving deputy pursuits. (Ex. Q-1, Duffy Dep. 153:2-21).

         g.      Plaintiff’s citations to the record do not support this Paragraph. Plaintiff

  consistently demonstrated divisive behavior, lack of leadership and poor professional judgment

  after her demotion from Undersheriff to Captain. See RCUF, ¶ 31 a. - f.).


                                                   4
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 5 of 17




                   RESPONSE CONCERNING DISPUTED FACTS (“RCDF”) 2

          1.       Admitted that Sheriff Spurlock discussed with Plaintiff his intention to endorse a

  Democratic candidate for Douglas County Commissioner, Lisa Neal-Graves, and that Sheriff

  Spurlock was aware of Plaintiff’s intention to run for Sheriff at that time. Denied that Sheriff

  Spurlock and Plaintiff “discussed her need to distance herself from the endorsement.” (Resp. Ex.

  22, Spurlock Dep. 149:9-16).

          2.       Admitted. (See citations to paragraph 2 of the “Statement of Additional Disputed

  Facts” (“SADF”3 ) of Plaintiff’s Response).

          3.       Admitted that Plaintiff’s Facebook post speaks for itself.

          4.       Admitted.

          5.       Denied. The DCSO did not sustain policy violations against Plaintiff “because of

  her Facebook post.” (See MSJ, SOMF, ¶¶ 20-29).

          6.       Admitted that Kevin Duffy was promoted to Law Enforcement Bureau Chief after

  Plaintiff’s demotion. Denied that Chief Duffy publicly supported Lisa Neal-Graves and/or that

  Chief Duffy’s wife’s endorsement of Ms. Neal-Graves contributed to Chief Duffy’s promotion.

  (Ex. Q-1, Duffy Dep. 234:16-235:10).

          7 - 9.   Admitted.


  2Any admission of facts as asserted under this section are only for purposes of briefing on Defendant[s’]
  Motion for Summary Judgment.
  3
   The Court’s Civil Practice Standards require a party opposing summary judgment to set forth in a separate
  section each material fact, which must be “separately numbered and paragraphed.” Civ. Practice Standard
  7.1D(b)(5). Plaintiff’s attempt to incorporate by general reference multiple pages of an entirely separate
  motion is improper and should be rejected. To the extent the Court finds it is not improper and/or permits
  Plaintiff to do so, Defendants incorporate by reference each of their respective responses to such “material
  facts” as provided in Defendant’s Response to Plaintiff’s Motion for Partial Summary Judgment (ECF
  No. 35).
                                                       5
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 6 of 17




         10.     Denied. Whether such issues are so documented is “up to the individual supervisor ”

  who could choose to keep their own file of performance issues. (Ex. W, Domenico Dep. at

  28:19­25; Ex. C-1, Spurlock Dep. at 40:9-16).

         11-14. Admitted.

         15.     Denied. Plaintiff’s citation to deposition testimony does not support this Paragraph.

         16.     Denied. Plaintiff’s contention that Sheriff Spurlock did so “was just kind of [her]

  impression when [she] got transferred to the jail” and was only her assumption, for which she does

  not have any supporting evidence. (See Resp. Ex. 25, Kluth Dep. at 258:6-12).

         17.     Admitted.

         18.     Denied. During the period that Plaintiff was reporting to Mr. Johnson, Plaintiff got

  “snippy” with Mr. Johnson about his workday and work hour expectations, “stomped out” of his

  office and otherwise “acted very unprofessional.” (Ex. X, Johnson Dep. at 139:3-140:5, 178:4˗9).

         19.     Denied. Plaintiff’s citation to deposition testimony does not support this Paragraph.

         20 - 21. Admitted.

         22.     Denied. Sheriff Spurlock consulted with the County Attorney and HR Director.

  (Resp. Ex. 22, Spurlock Dep. 204:24-205:1).

         23.     Denied. Chief Duffy apprised Undersheriff Walcher and Sheriff Spurlock regarding

  certain issues concerning Plaintiff. (Ex. Q-1, Duffy Dep. at 142:8-143:4, 143:10-23, 123:9-127:3).

         24.     Denied. Mr. Johnson did not testify that he believed that Plaintiff was meeting the

  mission, vision and values of the DCSO during the time that he supervised her. (Resp. Ex. 32,

  Johnson Dep. at 177:25-178:11).

         25.     Denied. Plaintiff’s citation to the Declaration does not support this Paragraph.


                                                   6
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 7 of 17




          26.     Denied. Sheriff Spurlock’s statement also related to Plaintiff’s behavior and trust

  issues. See MSJ, SOMF, ¶ 33.

          27.     Admitted that Sheriff Spurlock endorsed Sheriff Weekly in November of 2021.

          28.     Admitted.

          29.     Admitted that Mr. Moore’s termination did not directly follow the procedures of

  the Disciplinary Policy.

          30 – 31. Admitted.

          32.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 speaks for itself.

          33.     Denied. Sheriff Spurlock’s response to interrogatory no. 2. was not based solely on

  Chief Duffy’s memorandum. Sheriff Spurlock testified the number one reason that he terminated

  Plaintiff was because “she no longer fulfilled the vision, mission and values of my office which

  involved very important, particular issues, like judgment, and trust and unity.” (Ex. C-1, Spurlock

  Dep. at 235:17-236:2).

          34.     Admitted that Chief Duffy reviewed his notes and communications with Plaintiff

  and prepared the document as a “synopsis.” (Resp. Ex. 23, Duffy Dep. at 170:1-13).

          35.     Denied. Plaintiff’s citation to Chief Duffy’s deposition testimony does not support

  this Paragraph in its entirety.

          36.     Admitted that Sheriff Spurlock did not know of the Plaintiff/Lieutenant Bronner

  incident prior to Plaintiff’s termination. Denied that Sheriff Spurlock did not know of the other

  incidents. (Resp. Ex. 22, Spurlock Dep. at 255:15-258:7).

          37.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 speaks for itself.




                                                    7
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 8 of 17




            38.     Admitted that Chief Duffy testified to same at his deposition and further testified

  that Plaintiff’s actions caused some consternation with Captain Jensen and the captain of the

  training unit. (Ex. Q-1, Duffy Dep. 205:1-9).

            39.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 speaks for itself.

            40.     Admitted that Mr. Johnson testified that he did not recall Plaintiff interfering with

  a transfer.

            41.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 speaks for itself.

            42.     Denied. Plaintiff’s citation to Chief Duffy’s deposition testimony and Undersher iff

  Walcher’s deposition testimony does not support this Paragraph

            43.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 and deposition

  testimony speaks for themselves.

            44.     Admitted that Chief Duffy testified to same at his deposition.

            45.     Admitted that Sheriff Spurlock’s response to interrogatory no. 2 speaks for itself.

            46.     Denied. Plaintiff’s citation to deposition testimony does not support this Paragraph.

                                               ARGUMENT

  I.        DEFENDANTS ARE ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFF’S
            FIRST AMENDMENT RETALIATION CLAIM 4

            Plaintiff contends that her free speech claim is premised on three instances of allegedly

  protected speech: (1) her “September 2020 speech responding                   to Spurlock’s politica l

  endorsement,” (2) her September 2020 Facebook post, and (3) her “speech relating to her February

  2021 campaign for sheriff.” (Resp. at 14). Plaintiff concedes, however, that her demotion from



  4   Plaintiff concedes her Fourteenth Amendment Procedural Due Process claim. (Response at 2).
                                                      8
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 9 of 17




  Undersheriff to Captain of Patrol in the fall of 2020 was not in retaliation for any protected speech

  or affiliation. (See Resp. at 23: “Again, Ms. Kluth’s claims challenge her unlawful terminatio n—

  not her demotion.”). Of course, she was demoted for violating multiple DCSO policies (which she

  unequivocally admitted to and took “full responsibility” for), not in retaliation for engaging in any

  protected speech.

          Plaintiff now attempts to ignore her admission of multiple policy violations and instead

  focus simply on the fact that the general subject matter of the issues giving rise to her misconduct

  was “political” in nature. That does not save her claim. None of Plaintiff’s alleged “politica l”

  speech in 2020 was a substantial or motivating factor in Plaintiff’s termination approximately eight

  months later. Plaintiff’s reliance on Lochkeed Martin Corp. for the proposition that “the relevant

  time frame” for evaluation of temporal proximity is “not when the discharge occurred” is

  misplaced. (See Resp. at 15, citing 717 F.3d 1121, 1137 (10th Cir. 2013)). The part of the statement

  that Plaintiff omitted reveals that this rule is applicable only under a “contributing factor” causation

  standard, which is far less demanding on a plaintiff than the “substantial motivating factor” at issue

  under Garcetti/Pickering. See Lockheed, 717 F.3d at 1137 (“when evaluating temporal proximity

  for purposes of determining whether Brown's protected activity was a contributing factor in her

  constructive discharge…”)(whistleblower action under Sarbanes-Oxley Act) (emphasis added); id.

  at 1136 (explaining that the “contributing factor” standard is “broad and forgiving” and is only

  applied to certain statutory whistleblower actions because it was “intended to overrule existing

  case law, which requires a whistleblower to prove that [their] conduct was a … motivating, [or]

  substantial factor….”).




                                                     9
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 10 of 17




          There is no evidence that the investigation into the September 2020 issue was pre-textual

   or retaliatory. Plaintiff admits that her actions created the appearance of a rift between the Sheriff

   and her (the undersheriff; his second-in-command; and a relationship for which personal loyalty

   and a close working relationship is required). She also took “full responsibility” for her actions

   (and inactions) in the incident, including “calling out” the Sheriff in her Facebook post. (Ex. A-1,

   Kluth Dep. at 278:15-279:1). Under these circumstances, no reasonable jury could find that her

   allegedly protected “political” speech during this incident was a substantial or motivating factor in

   her termination roughly eight months later. Plaintiff’s attempts to fault Sheriff Spurlock for having

   the incident investigated is baseless because the investigation itself was also not an adverse

   employment action. Cf. Lincoln v. Maketa, 880 F.3d 533, 543 (10th Cir. 2018) (“We generally do

   not consider standard workplace investigations to be adverse employment actions.”).

          Likewise, there is no evidence that Plaintiff’s “speech relating to her February 2021

   campaign for sheriff” (Resp. at 14) was a substantial or motivating factor in her terminatio n

   roughly three months later on May 25, 2021. See Lauck v. Campbell Cty., 627 F.3d 805, 815-16

   (10th Cir. 2010)(“We have repeatedly held that one cannot infer causation from temporal

   proximity alone when the time lapse between the protected activity and the retaliatory act exceeds

   three months.”). Moreover, Sheriff Spurlock was aware of Plaintiff’s intent to run for Douglas

   County Sheriff well before May 2021, further weakening any causal link between Plaintiff’s

   termination and her campaign. (Ex. C-1, Spurlock Dep. at 146:9-147:4, 149:12-16). When

   Plaintiff told him of her intent to do so sometime in the summer of 2020, Spurlock’s reaction

   “wasn’t negative.” (Ex. A-1, Kluth Dep. at 103:23-105:15).




                                                    10
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 11 of 17




           Plaintiff’s argument that her alleged “political” speech or affiliation with the Republica n

   Party was a substantial or motivating factor in her termination is groundless. No reasonable jury

   could find that Plaintiff’s affiliation with the Republican Party was a substantial or motivating

   factor in her termination when Sheriff Spurlock himself is a registered Republican and publicly

   endorsed another Republican, Sheriff Weekly, for Douglas County Sheriff. (MSJ Ex. C, Spurlock

   Dep. at 57:2-8; Ex. C-1, Spurlock Dep. at 269:21-270:2). Indeed, Plaintiff’s contention is based

   simply on her “feeling” and “assumption.” (MSJ Ex. A, Kluth Dep. at 143:12-23).

           Plaintiff’s argument that a reasonably jury could infer “political motivation” based on

   Sheriff Spurlock’s statement that “nothing ha[d] changed since the fall” is also unavailing. The

   only credible evidence on this matter comes from Sheriff Spurlock, who explained that the

   comment referred to Plaintiff’s behavior since her demotion—that “[s]he continued to not live up

   to the vision, mission, and values” of DCSO. (Ex. C-1, Spurlock Dep. at 213:16-214:17, 215:18-

   216:3, 216:12-217:3). Of course, “last fall” was when Plaintiff acted (self-admittedly) in a manner

   that could be perceived as “contrary to the sheriff” and a “split” in the command staff (MSOMF ¶

   18); and “betray[ed] [Sheriff Spurlock’s] trust.” (MSOMF ¶ 26). Plaintiff’s contention that Sheriff

   Spurlock was referencing her political affiliation or “relationship with the Republican Party” is

   merely an assumption without any supporting evidence and is not sufficient to create a genuine

   issue of fact. (Ex. A-1, Kluth Dep. at 170:19-22). No reasonable jury could conclude that Plaintiff’s

   alleged “political” speech or affiliation was a substantial or motivating factor in her terminatio n

   decision.

           Plaintiff’s argument that Sheriff Spurlock’s termination decision was pre-textual also

   misses the mark. Sheriff Spurlock terminated Plaintiff’s employment with DCSO because she


                                                    11
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 12 of 17




   failed to meet the vision, mission, and values of the office. Although, upon the advice of counsel,

   he did not further elaborate on this basis at the termination meeting (Ex. C-1, Spurlock Dep. at

   210:24-25), Plaintiff was familiar with the DSCO vision, mission, and values and had agreed to

   uphold them for many years as Undersheriff. (See Ex. A-1, Kluth Dep. at 211:6-14). Further,

   Sheriff Spurlock was aware of various incidents involving Plaintiff that contributed to his

   determination that Plaintiff was not meeting his vision, mission, and values. (See, e.g., MSOMF

   31(b); see also Ex. C-1, Spurlock Dep. at 246:4-9, 247:1-8, 248:24-249:4).

           That no PCR or internal affairs investigation immediately preceded Plaintiff’s termina tio n

   is not credible evidence of pretext. Employment with the Sheriff’s Office is “at will.” (See MSJ

   Ex. S, KLUTH 14-15 – DCSO’s General Administration Manuals and Authority § I and C.R.S. §

   30-10-504). Under the DCSO policy and certain circumstances, the Sheriff can terminate an

   employee without going through the PCR, IA, or disciplinary process. (See Ex. Y, Walcher Dep.

   at 118:1-24 (e.g., a “seri[es] of pattern of poor behavior and judgment”)).

          Plaintiff has presented no evidence that her lateral transfer as Captain from the patrol

   division to the detentions division was an adverse employment action. Cf. Lincoln v. Maketa, 880

   F.3d 533, 539 (10th Cir. 2018)(the fourth Garcetti step “requires that the employer take some

   adverse employment action against the employee.”). Plaintiff’s sole argument regarding her

   dissatisfaction with the transfer to Captain of Detentions is that it is a “less public-facing position”

   than Captain of Patrol. Even assuming that to be true for purposes of summary judgment, it was

   not an alteration of employment status that would constitute an adverse employment action. There

   was no change in her salary, position, or benefits. (Ex. Z, DCSO 1880 – Personnel Action Form

   with transfer information). See Piercy v. Maketa, 480 F.3d 1192, 1203 (10th Cir. 2007) (“we still


                                                     12
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 13 of 17




   will not consider a mere inconvenience or an alteration of job responsibilities to be an adverse

   employment action” and “the fact that the employee views the transfer either positively or

   negatively does not of itself render the … transfer an adverse employment action”). Plaintiff’s

   transfer was not punitive; she was transferred to the same position in a different division, which

   was DCSO’s largest division and had a large budget. (Ex. C-1, Spurlock Dep. at 266:13-17; Ex.

   Y, Walcher Dep. at 244:2-13 (“A captain’s a captain’s a captain.”); Ex. Q-1, Duffy Dep. at 65:10-

   11 (testifying that the Detentions division was “another critical division within the department”).

          Neither has Plaintiff presented any evidence that the transfer to the detentions division was

   in retaliation for any protected speech or affiliation. Plaintiff’s contention that Sheriff Spurlock

   intentionally transferred her to a less public-facing role “was just kind of [her] impression when

   [she] got transferred to the jail” and was only her assumption, for which she does not have any

   supporting evidence. (See Resp. Ex. 25, Kluth Dep. at 258:6-12). Her transfer was strictly a

   decision based on organizational movement and structure, not retaliation. (See Ex. C-1, Spurlock

   Dep. at 265:25-266:12; see also Ex. Q-1, Duffy Dep. at 64:20-65:15, 66:5-13 (testifying in

   30(b)(6) capacity).

   II.    SHERIFF SPURLOCK IS ENTITLED TO QUALIFIED IMMUNITY

          Plaintiff has failed to show that Sheriff Spurlock violated clearly established law. The

   Supreme Court has repeatedly admonished courts “not to define clearly established law at a high

   level of generality” because “doing so avoids the crucial question [of] whether the official acted

   reasonably in the particular circumstances that he or she faced.” District of Columbia v. Wesby,

   138 S. Ct. 577, 590 (2018) (emphasis added); White v. Pauly, 580 U.S. 73, 137 (2017); Mullenix,

   577 U.S. at 12.


                                                    13
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 14 of 17




          First Amendment retaliation claims are not exempted from this rule. See, e.g., Lane v.

   Franks, 573 U.S. 228, 245 (2014) (considering particularized facts such as whether speech was

   testimony under oath and outside the scope of job duties) and Lincoln v. Maketa, 880 F.3d 533,

   543-44 (10th Cir. 2018) (reversing denial of qualified immunity in First Amendment retaliatio n

   case where district court relied on general principles). Further, courts analyze qualified immunity

   at each step of the Garcetti/Pickering test. See, e.g., Singh, 936 F.3d at 1034-35 (granting qualified

   immunity “at the second step of Garcetti/Pickering”); see also Lincoln, 880 F.3d at 538 (reversing

   denial of qualified immunity because plaintiffs failed to show clearly established law for differe nt

   elements).

          None of the cases cited by Plaintiff show that a reasonable Sheriff under the circumsta nces

   of this case, would know, “beyond debate,” that terminating a Captain for failing to meet the

   Sheriff’s vision, mission, and values (despite having served for many years as his Undersheriff

   and enforcing those same values) would violate the First Amendment simply because the employee

   engaged in alleged “political” speech and expression of affiliation approximately eight months

   before; or because she announced her candidacy for Sheriff (in a race where the defendant was not

   running) roughly three months before.

          Plaintiff’s political association/patronage cases do not show clearly established law under

   these circumstances because even taking the undisputed facts in light most favorable to Plaintiff,

   there is no evidence that Plaintiff’s September 2020 speech or affiliation with the Republican Party

   was a substantial or motivating factor in her termination. For example, Plaintiff argues that her

   right “not to be terminated for her political association or affiliation” was clearly established by

   Gann v. Cline, 519 F.3d 1090 (10th Cir. 2008) and unspecified “others.” (Resp. at 15, n.5). Gann


                                                    14
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 15 of 17




   is inapposite. There, a County Commissioner fired an office manager because she had failed to

   support the Commissioner’s campaign for the position. Id. at 1092. Moreover, the generalized

   principle relied upon by Plaintiff does not suffice to show clearly established law under the

   particularized facts of this case. 5

   III.      PLAINTIFF’S CLAIM BASED ON C.R.S. § 13-21-131 FAILS

             Plaintiff’s Section 13-21-131 claim is based on the same allegations and arguments as her

   First Amendment retaliation claim. 6 Although she argues that this statute provides broader

   protection than the First Amendment, she fails to explain how the analysis is any different. The

   single case she cites is wholly inapposite and concerns a challenge to an ordinance regarding

   location of adult businesses. She also fails to provide any legal authority to support her assertion

   that “it is not appropriate” to apply the second and third Garcetti prongs in the analysis. Because

   Defendants are entitled to summary judgment on the First Amendment claim, the Court should

   enter judgment in their favor on this claim, too.

   IV.       PLAINTIFF’S BREACH OF IMPLIED CONTACT CLAIM FAILS

             To the extent Plaintiff attempts to incorporate by reference her briefing on the issue from

   her Motion for Partial Summary Judgment and Reply in support thereof, Defendants incorporate

   by reference their arguments in their Response to Plaintiff’s Motion. (ECF No. 35). Defendants

   also rely on the arguments addressed in their Motion for Summary Judgment, which Plaintiff




   5
     Sheriff Weekly is entitled to summary judgment on Plaintiff’s Monell claim because “[a] municipalit y
   may not be held liable where there is no underlying constitutional violation by any of its officers.” Graves
   v. Thomas, 450 F.3d 1215, 1225 (10th Cir. 2006).
   6   Plaintiff concedes her statutory claim based on a due process theory. (Resp. at 25, n. 10).
                                                          15
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 16 of 17




   appears to concede to the extent they are unaddressed in her Response or her Motion for Partial

   Summary Judgment briefing.

   V.     THERE IS NO BASIS FOR PLAINTIFF’S REQUEST FOR PUNITIVE DAMAGES

          Punitive damages are inappropriate where a plaintiff cannot show that the defendant either

   acted with malice or knew his actions were unconstitutional. Jolivet, 966 F.2d at 577. Even

   considering the facts in light most favorable to Plaintiff, there is no evidence that Sheriff Spurlock

   acted with malice or evil motive, or that he knew his actions were unconstitutional (which they

   were not).

                                             CONCLUSION

          For the reasons described above and in Defendants’ Motion, Plaintiff has failed to establish

   any triable issues of fact. Accordingly, this Court should enter summary judgment in favor of the

   Defendants and dismiss all of Plaintiff’s claims against them with prejudice.

          Dated this 10th day of February 2023.

                                                     s/ William T. O’Connell, III
                                                  William T. O’Connell, III
                                                  Saugat K. Thapa
                                                  WELLS, ANDERSON & RACE, LLC
                                                  1700 Broadway, Suite 900
                                                  Denver, CO 80290
                                                  Telephone: 303-830-1212
                                                  Email: woconnell@warllc.com; sthapa@warllc.com

                                                  ATTORNEYS FOR DEFENDANTS
                                                  TONY SPURLOCK & DARREN WEEKLY




                                                    16
Case No. 1:21-cv-03417-NYW-SP Document 41 filed 02/10/23 USDC Colorado pg 17 of 17




                                 CERTIFICATE OF SERVICE

           I hereby certify that on February 10, 2023, a true and correct copy of the above and
   foregoing DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION FOR SUMMARY
   JUDGMENT was electronically filed with the Clerk of Court using the CM/ECF system and/or
   sent via e-mail to the following e-mail addresses:

   Felipe Bohnet-Gomez, Esq.
   Matthew J. Cron, Esq.
   Siddhartha H. Rathod, Esq.
   RATHOD MOHAMEDBHAI LLC
   2701 Lawrence Street, Suite 100
   Denver, CO 80205
   fbg@rmlawyers.com
   mc@rmlawyers.com
   sr@rmlawyers.com

   Attorneys for Plaintiff

                                             s/ Barbara McCall
                                             Barbara McCall, Legal Assistant




                                               17
